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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



UNITED STATES OF AMERICA,                    )     JUDGE CHRISTOPHER A. BOYKO
                                             )
                 Plaintiff,                  )     CASE NO.1:10CR412-10
                                             )
      -vs-                                   )
                                             )
ANTHONY COLEMAN,                             )     ORDER ADOPTING
                                             )     REPORT AND RECOMMENDATION
                                             )     OF MAGISTRATE JUDGE
                 Defendant.                  )


      On September 16, 2011, the Defendant, accompanied by counsel, proffered a
plea of guilty before Magistrate Judge Kenneth S. McHargh to Count 1 of the
Indictment. The Court finds that the Defendant’s proffer of guilt was made under oath
knowingly, intelligently and voluntarily and that all requirements imposed by the United
States Constitution and Fed.R.Crim.P. 11 are satisfied.


      THEREFORE, the Court adopts the Report and Recommendation of Magistrate
Judge McHargh, approves the Plea Agreement, accepts the Defendant’s offer of guilt
and finds the Defendant guilty as charged in the Indictment.


      The signed Plea Agreement shall be filed as of the date of this Order.

                 IT IS SO ORDERED.


                                                   S/Christopher A. Boyko
                                                   Christopher A. Boyko
                                                   U.S. District Court Judge


October 13, 2011
